  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 1 of 40




                             No. _____________


            IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT


        In re World Professional Association for Transgender Health,
                                 Petitioner

  On Petition from the U.S. District Court for the Middle District of Alabama
                             No. 2:22-cv-00184
                            (Hon. Liles C. Burke)

__________________________________________________________________
              PETITION FOR WRIT OF MANDAMUS
__________________________________________________________________


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   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 2 of 40




    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                   DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1, the undersigned

counsel for the World Professional Association for Transgender Health

(“WPATH”) certifies that WPATH has no parent corporation, and no corporations

hold any stock in WPATH.

      Counsel certifies that the following persons and parties, in addition to

WPATH, that may have an interest in the outcome of this case:

            1.     Academic Pediatric Association – Amicus Curiae;

            2.     Aderholt, Caroline M. – Amicus Curiae;

            3.     Aderholt, Robert B. – Amicus Curiae;

            4.     Advancing American Freedom, Inc. – Amicus Curiae;

            5.     Alabama Center for Law and Liberty – Amicus Curiae;

            6.     Alabama Ch. of the American Academy of Pediatrics – Amicus

Curiae;

            7.     Alaska, State of – Amicus Curiae;

            8.     Am. Academy of Child and Adolescent Psychiatry – Amicus

Curiae;

            9.     Am. Academy of Family Physicians – Amicus Curiae;

            10.    Am. Academy of Pediatrics – Amicus Curiae;

            11.    Am. Academy of Nursing – Amicus Curiae;


                                          i
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 3 of 40




           12.   Am. Ass’n of Physicians for Human Rights, Inc. – Amicus

Curiae;

           13.   Am. Coll. of Obstetricians & Gynecologists – Amicus Curiae;

           14.   Am. Coll. of Osteopathic Pediatricians – Amicus Curiae;

           15.   Am. College of Physicians – Amicus Curiae;

           16.   Am. Family Ass’n, Inc. – Amicus Curiae;

           17.   Am. First Legal Foundation – Amicus Curiae;

           18.   Am. Med. Ass’n – Amicus Curiae;

           19.   Am. Pediatric Soc’y – Amicus Curiae;

           20.   Am. Psychiatric Ass’n – Amicus Curiae;

           21.   Ams. United for Life – Amicus Curiae;

           22.   Ass’n of Am. Med. Colls. – Amicus Curiae;

           23.   Ass’n of Med. School Pediatrics Dep't Chairs – Amicus Curiae;

           24.   Anderson, Tom – Defendant;

           25.   Arizona, State of – Amicus Curiae;

           26.   Arkansas, State of – Amicus Curiae;

           27.   Baia, Elizabeth – Counsel for Medical Amici;

           28.   Bailey, Daryl D. – Defendant;

           29.   Baylock, C. Wilson – Defendant;

           30.   Boe, Brianna (pseudonym) – Plaintiff;


                                      ii
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 4 of 40




           31.   Bowdre, Alexander Barrett – Counsel for the Defendants;

           32.   Brooks, Mo – Amicus Curiae;

           33.   Brown, Chip – Amicus Curiae;

           34.   Buckeye Institute – Amicus Curiae;

           35.   Burke, Liles C. – U.S. District Court Judge;

           36.   Cantrell, Michael A. – Counsel for Amici States

           37.   Cardinal Institute for West Virginia Policy – Amicus Curiae;

           38.   Carl, Jerry L. – Amicus Curiae;

           39.   Carr, Danny – Defendant;

           40.   Center for Arizona Policy – Amicus Curiae;

           41.   Center for Family and Human Rights – Amicus Curiae;

           42.   Cheek, Jason R. – Counsel for Intervenor – Plaintiff;

           43.   Citizens United – Amicus Curiae;

           44.   Citizens United Foundation – Amicus Curiae;

           45.   Commonwealth Foundation for Public Policy Alternative –

Amicus Curiae;

           46.   Concerned Women for America – Amicus Curiae;

           47.   Davis, James William – Counsel for Defendants;

           48.   Doss, Jeffrey P. – Counsel for Plaintiffs;

           49.   Dunbar, John Mark – Counsel for Amicus Curiae;


                                       iii
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 5 of 40




             50.   Eagan, Melody Hurdle – Counsel for Plaintiffs;

             51.   Eagle Forum of Albama – Amicus Curiae;

             52.   Elliot, T. Christopher – Amicus Curiae;

             53.   Endocrine Society – Amicus Curiae;

             54.   Escalona, Elizabeth Prim Formby – Counsel for Intervenor –

Plaintiff;

             55.   Faith & Freedom Coalition – Amicus Curiae;

             56.   Family Action Council of Tennessee, Inc., – Amicus Curiae;

             57.   Foundation for Government Accountability – Amicus Curiae;

             58.   Foundation for Moral Law – Amicus Curiae;

             59.   Free Speech Coalition – Amicus Curiae;

             60.   Frontline Policy Council – Amicus Curiae;

             61.   Georgia, State of – Amicus Curiae;

             62.   Goldberg, Noah S.

             63.   Gray, C. Boyden– Counsel for Amicus Curiae;

             64.   Independent Women’s Forum – Amicus Curiae;

             65.   Indiana, State of – Amicus Curiae;

             66.   Isasi, William – Counsel for WPATH and Medical Amici

Curiae;

             67.   Jauregui, Phillip Leo – Counsel for Amicus Curiae;


                                        iv
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 6 of 40




            68.   John Locke Foundation – Amicus Curiae;

            69.   Jordan, Albert Linch– Counsel for Amicus Curiae; Judicial

Watch, Inc. – Amicus Curiae;

            70.   Koe, Rachel (pseudonym) – Plaintiff;

            71.   Lannin, Cortlin H. – Counsel for WPATH and Medical Amici

Curiae;

            72.   Lanosa, Michael – Counsel for WPATH and Medical Amici

Curiae;

            73.   Lareau Alyssa C. – Counsel for Intervenor – Plaintiff;

            74.   Levi, Jennifer L. – Counsel for Plaintiffs;

            75.   Liberty Justice Center – Amicus Curiae;

            76.   Louisiana Family Forum – Amicus Curiae;

            77.   Louisiana, State of – Amicus Curiae;

            78.   Marshall, Steve – Defendant;

            79.   Manhattan Institute – Amicus Curiae;

            80.   McCotter, R. Trent – Counsel for Amicus Curiae;

            81.   McCoy, Scott D. – Counsel for Plaintiffs;

            82.   Medical Ass’n of Pediatric Nurse Practitioners – Amicus

Curiae;

            83.   Mendenhall, Allen – Amicus Curiae;


                                        v
Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 7 of 40




        84.   Michigan Family Forum – Amicus Curiae;

        85.   Mills, Christopher E. – Counsel for Defendants;

        86.   Mississippi, State of – Amicus Curiae;

        87.   Missouri, State of – Amicus Curiae;

        88.   Montag, Coty Rae – Counsel for Intervenor – Plaintiff;

        89.   Montana, State of – Amicus Curiae;

        90.   Mooney, Arnold – Amicus Curiae;

        91.   Moore, Barry – Amicus Curiae;

        92.   Mountain States Legal Foundation – Amicus Curiae;

        93.   Nebraska, State of – Amicus Curiae;

        94.   Nat’l Ass’n of Pediatric Nurse Practitioners – Amicus Curiae;

        95.   Nat’l Republican Redistricting Trust – Amicus Curiae;

        96.   Nat’l Right to Work Committee – Amicus Curiae;

        97.   Noe, Kathy (pseudonym) – Plaintiff;

        98.   Oklahoma Council of Public Affairs – Amicus Curiae;

        99.   Oklahoma, State of – Amicus Curiae;

        100. Oladeinbo, Gilbert – Counsel for Plaintiffs;

        101. Olson, William J. – Counsel for Amicus Curiae;

        102. Orr, Asaf – Counsel for Plaintiffs;

        103. Palmer, Gary – Amicus Curiae;


                                   vi
Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 8 of 40




        104. Parental Rights Foundation – Amicus Curiae;

        105. Pediatric Endocrine Soc’y – Amicus Curiae;

        106. Pennsylvania Family Council – Amicus Curiae;

        107. Peterson, Misty L. – Counsel for Plaintiffs;

        108. Poe, Megan (pseudonym) – Plaintiff;

        109. Powers, John Michael – Counsel for Intervenor – Plaintiff;

        110. Pratt, James Andrew – Counsel for Plaintiffs;

        111. Private Citizen – Amicus Curiae;

        112. Protect Our Kids – Amicus Curiae;

        113. Public Interest Legal Foundation – Amicus Curiae;

        114. Ragsdale, Barry Alan – Counsel for Medical Amici;

        115. Ray, Brent P. – Counsel for Plaintiffs;

        116. Reinke, Adam – Counsel for Plaintiffs;

        117. The Religious RoundTable, Inc. – Amicus Curiae;

        118. Roe, Rebecca – Plaintiff;

        119. Rogers, Mike – Amicus Curiae;

        120. Seiss, Benjamin Matthew – Counsel for Defendants;

        121. Shortnacy, Michael B. – Counsel for Plaintiffs;

        122. Simpson, Matt – Amicus Curiae;

        123. Societies for Pediatric Urology – Amicus Curiae;


                                   vii
Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 9 of 40




        124. Soc’y of Adolescent Health & Medicine – Amicus Curiae;

        125. Soc’y for Pediatric Research – Amicus Curiae;

        126. Soc’y of Pediatric Nurses – Amicus Curiae;

        127. Soto, Diego Armando – Counsel for Plaintiffs;

        128. Southeast Law Institute – Amicus Curiae;

        129. South Carolina, State of – Amicus Curiae;

        130. Spakovsky, Hans von – Amicus Curiae;

        131. Stewart, Sandra Jean – Counsel for Intervenor – Plaintiffs;

        132. Stone, Jessica L. – Counsel for Plaintiffs;

        133. Susan B. Anthony Pro-Life America – Amicus Curiae;

        134. Tea Party Patriots Action, Inc. – Amicus Curiae;

        135. Tea Party Patriots Foundation, Inc. – Amicus Curiae;

        136. Tennessee Eagle Forum – Amicus Curiae;

        137. Terry, Abigail Hoverman – Counsel for Plaintiffs;

        138. Texas Public Policy Foundation – Amicus Curiae;

        139. Texas, State of – Amicus Curiae;

        140. Thornton, Joel H. – Counsel for Detransitioner Amici Curiae;

        141. Toyama, Kaitlin – Counsel for Intervenor – Plaintiff;

        142. Trevor Project, Inc. – Amicus Curiae

        143. United States of America – Intervenor – Plaintiff;


                                   viii
Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 10 of 40




         144. Utah, State of – Amicus Curiae;

         145. Wadsworth, Stephen D. – Counsel for Intervenor – Plaintiff;

         146. Wagoner, J.T. – Amicus Curiae;

         147. Warbelow, Sarah – Counsel for Plaintiffs;

         148. Wadsworth, Tim R. – Amicus Curiae;

         149. Waver, Cynthia Cheng-Wun – Counsel for Plaintiffs;

         150. West Virginia, State of – Amicus Curiae;

         151. Wilkerson, Mark Douglas – Counsel for Amici States;

         152. Williams, Renee – Counsel for Intervenor – Plaintiff;

         153. Woodke, Lane Hines – Counsel for Intervenor – Plaintiff;

         154. Vague, Amie A. – Counsel for Plaintiffs;

         155. Vance, Robert S. – Counsel for Medical Amici;

         156. Ventiere, Jessica – Defendant;

         157. Veta, D. Jean – Counsel for Medical Amici.




                                    ix
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 11 of 40




              STATEMENT REGARDING ORAL ARGUMENT
      Petitioner believes that oral argument would assist the Court in its

consideration of the significant First Amendment issues raised in this petition.




                                          x
      Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 12 of 40




                                      TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
    DISCLOSURE STATEMENT ...............................................................i
STATEMENT REGARDING ORAL ARGUMENT ......................................... x

INTRODUCTION AND RELIEF SOUGHT ....................................................1
ISSUE PRESENTED ....................................................................................4
STATEMENT OF FACTS.............................................................................5
         A.      The Underlying Litigation............................................................5
         B.      The State of Alabama’s Subpoena.................................................6
         C.      WPATH’s Motion to Quash .........................................................7
REASONS FOR GRANTING THE WRIT ......................................................9
I.       WPATH Has No Other Adequate Means to Attain Relief. .........................9
II.      WPATH’s Right to the Writ Is Clear and Indisputable Because the
         District Court Abused Its Discretion in Denying WPATH’s Motion to
         Quash............................................................................................... 11
         A.      WPATH Established a Prima Facie Case That Enforcement of
                 the State’s Subpoena Would Infringe Its First Amendment
                 Rights...................................................................................... 12
         B.      The State Does Not Have a Compelling Need for the Requested
                 Discovery Sufficient to Justify Infringement of WPATH’s First
                 Amendment Rights. .................................................................. 18
III.     Mandamus Is Appropriate Under the Circumstances. .............................. 20
CONCLUSION .......................................................................................... 23




                                                       xi
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 13 of 40




                                 TABLE OF AUTHORITIES

                                                                                              Page(s)
Cases
Adolph Coors Co. v. Movement Against Racism & the Klan,
  777 F.2d 1538 (11th Cir. 1985) ................................................................ 11
AFL-CIO v. FEC,
  333 F.3d 168 (D.C. Cir. 2003)........................................................... 3, 4, 14
Apple Inc. v. Match Grp., Inc.,
  2021 WL 3727067 (N.D. Cal. Aug. 19, 2021) ............................................ 13
Buckley v. Valeo,
  424 U.S. 1 (1976)................................................................................... 14
In re Burlington Northern, Inc.,
    822 F.2d 518 (5th Cir. 1997).................................................................... 23
Cate v. Oldham,
  707 F.2d 1176 (11th Cir. 1983) ................................................................ 21
Drummond Co., Inc. v. Terrance P. Collingsworth, Conrad & Scherer,
  LLP,
  816 F.3d 1319 (11th Cir. 2016) ............................................................ 9, 11
In re Fink,
    876 F.2d 84 (11th Cir. 1989)........................................................... 9, 20, 22
In re Fosamax Prods. Liab. Litig.,
    2009 WL 2395899 (S.D.N.Y. Aug. 4, 2009) .............................................. 22
In re Itron, Inc.,
    883 F.3d 553 (5th Cir. 2018).................................................................... 10
Perry v. Schwarzenegger,
   591 F.3d 1126 (9th Cir. 2009) ........................................................... passim
In re Sec’y, Fla. Dep’t of Corr.,
    2020 WL 1933170 (11th Cir. Mar. 30, 2020) ......................................... 9, 10



                                                  xii
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 14 of 40




In re Subpoenas Served on Am. Acad. of Pediatrics,
    2023 WL 2351729 (D.D.C. Mar. 3, 2023) ................................................. 17
In re Subpoenas Served On Am. Acad. of Pediatrics,
    2023 WL 2442223 (D.C. Cir. Mar. 8, 2023)............................................... 17
Whole Woman’s Health v. Smith,
  896 F.3d 362 (5th Cir. 2018)............................................................... 15, 22
Statutes
Alabama Vulnerable Child Compassion and Protection Act................................ 5




                                                xiii
    Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 15 of 40




                   INTRODUCTION AND RELIEF SOUGHT
       Petitioner World Professional Association for Transgender Health

(“WPATH”) is a non-profit organization that promotes evidence-based care and

related public policies for transgender individuals. Consistent with its mission,

WPATH develops and publishes a set of clinical guidelines for the treatment of

individuals diagnosed with the clinical condition known as gender dysphoria (the

“Guidelines”). 1 Last year, the State of Alabama banned certain of the medical

treatments for adolescents with gender dysphoria that are indicated in WPATH’s

Guidelines. After several individuals filed a lawsuit challenging that ban, the State

served a third-party subpoena on WPATH seeking a broad swath of materials that

would reveal, among other things, the substance of the internal deliberative process

that WPATH used to develop the Guidelines, in addition to materials that have

little if anything to do with the Guidelines.

       After meet-and-confer efforts failed to resolve WPATH’s objections to this

third-party discovery, including its First Amendment objections, WPATH sought

to quash the subpoena in the District Court. The District Court denied WPATH’s

motion to quash and denied WPATH’s subsequent petition to certify that order for




1
       Gender dysphoria is a clinical condition that is marked by distress due to an
incongruence between a patient’s gender identity (i.e., the innate sense of oneself
as being a particular gender) and sex assigned at birth.

                                           1
    Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 16 of 40




interlocutory appeal pursuant to 28 U.S.C. § 1292(b). As a result, WPATH is now

under a court order to produce materials responsive to the State’s sweeping

subpoena, including documents that reveal WPATH’s confidential internal

deliberations. As the District Court summarized, the State is seeking, among other

things, documents reflecting the “process WPATH used to create, review, and

adopt their position statements, treatment guidelines, and standards of care

regarding transitioning treatments.” Doc. 263 at 2. 2 The State has made no secret

of the purpose of this discovery: instead of defending the legitimacy of its ban, it

hopes to put WPATH—which it accuses of “quashing dissent and prioritizing

ideology or financial interest over science”—on trial. See Doc. 219 at 25.

       As WPATH explained in its motion to quash and supported with evidence,

compelled production of the subpoenaed material would squarely infringe its First

Amendment rights. Disclosure of these materials to the State will chill members’

participation in the organization, stifle the candid internal discussions that are

necessary to generate well-vetted work product, and ultimately undermine the

organization’s effectiveness. As many courts have recognized, “disclosure of an

association[’s] confidential internal materials,” as is imminent here, “intrudes on

the ‘privacy of association and belief guaranteed by the First Amendment,’ as well



2
     “Doc.” citations reference docket entries from the district court action
below.

                                           2
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 17 of 40




as seriously interferes with internal group operations and effectiveness.” AFL-CIO

v. FEC, 333 F.3d 168, 177–78 (D.C. Cir. 2003) (citation omitted). In fact, just

months ago the D.C. Circuit stayed enforcement of a third-party subpoena that

would have required WPATH to produce to the State of Florida the same materials

that are at issue here—discovery to which WPATH had also asserted First

Amendment objections.

      Notwithstanding this evidence and authority, the District Court concluded

that WPATH had failed to establish a prima facie case that compelled production

of the subpoenaed materials would infringe its First Amendment rights. That

conclusion rested on the premise that WPATH was required to “set forth a

‘reasonable probability’ that disclosure will result in ‘threats, harassment, or

reprisals’” but could not do so, because the State was not seeking member names

and WPATH could redact such details or produce the compelled material subject

to a protective order. Doc. 263 at 8.

      The District Court’s construction of the First Amendment privilege was

impermissibly narrow. Neither the Supreme Court nor this Court have ever

required evidence of “threats, harassment, or reprisals” to make out a prima facie

showing of a First Amendment infringement, and the District Court failed to

consider ample authority that the disclosure ordered here, which would “seriously

interfere[] with internal group operations and effectiveness” even with the benefit


                                          3
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 18 of 40




of redactions, tramples on WPATH’s First Amendment rights. AFL-CIO, 333 F.3d

at 177–78. Compounding this error, the District Court failed to consider whether

the requested material meets the heightened relevance standard that applies in the

First Amendment context; it does not.

      This is not a pedestrian discovery dispute. Rather, this dispute implicates

important Constitutional principles in a case that has attracted national attention,

and that is being closely watched by the many other states that are currently

defending, or may soon be defending, the constitutionality of their own bans on

gender affirming care. These issues would benefit from this Court’s careful

review. Having exhausted its other options to correct the District Court’s order,

WPATH now petitions this Court for a writ of mandamus to reverse that order.

WPATH respectfully requests that this Court act on the petition by June 16, 2023,

as the District Court has suggested it may soon order WPATH to produce the

compelled materials by a date certain.

                               ISSUE PRESENTED
      Whether the District Court abused its discretion by compelling WPATH to

produce materials reflecting its internal deliberative process, which would infringe

WPATH’s First Amendment rights by chilling members’ participation in the

organization, stifling internal deliberations, and undermining the organization’s

effectiveness.



                                          4
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 19 of 40




                            STATEMENT OF FACTS
      A.     The Underlying Litigation
      On April 8, 2022, the Governor of Alabama signed into law the “Alabama

Vulnerable Child Compassion and Protection Act,” which prohibits any person

from obtaining or providing certain medical treatments for transgender adolescents

with gender dysphoria. Subsequently, plaintiffs in the underlying action filed a

complaint against the State for declaratory and injunctive relief, Doc. 1, followed

by a motion for a preliminary injunction, Doc. 7.

      WPATH is not, and never has been, a party to the underlying litigation.

Founded in 1979, WPATH is a 501(c)(3) non-profit interdisciplinary professional

and educational organization whose mission is to promote evidence-based care,

education, research, and public policy with regards to transgender health. See Doc.

208-4 (Declaration of WPATH (“WPATH Decl.”)), ¶ 4. WPATH is one of 23

national and state professional medical and mental health organizations that

submitted an amicus brief in support of plaintiffs’ motion for a preliminary

injunction. Doc. 91-1. The amicus brief explained that gender affirming care is

the widely-accepted standard of care for gender dysphoria. Id. at 6-19. Gender

affirming care is indicated in WPATH’s Guidelines, which are primarily intended

for health professionals and set forth clinical guidance for the treatment of gender

dysphoria.



                                          5
    Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 20 of 40




       B.    The State of Alabama’s Subpoena
       On October 13, 2022, a few months after the District Court granted the

plaintiffs’ motion for a preliminary injunction, the State issued a third-party

subpoena to WPATH that contained 47 document requests. See Doc. 208-2 at Ex.

4 (WPATH subpoena). The State withdrew several of those requests during the

course of meet-and-confer efforts, but the 29 requests that remain seek two broad

categories of materials: (i) materials reflecting the internal deliberative process

through which WPATH developed the Guidelines; and (ii) materials reflecting

other aspects of WPATH’s work.3

       As to the first category, the State seeks, for example, “all Communications

and Documents” related to “the applications and selection process for WPATH

Guideline Steering Committee,” “the decision regarding what chapters to include

and not include in” WPATH’s Guidelines,” and “the development and approval”

of various chapters of the Guidelines. See Ex. A at RFP Nos. 1-3. As the District

Court summarized, these types of requests collectively seek materials evidencing

the “process WPATH used to create, review, and adopt their position statements,

treatment guidelines, and standards of care regarding transitioning treatments.”

Doc. 263 at 2.



3
      A list of the document requests that the District Court has enforced as
written is attached to this Petition as Exhibit A.

                                           6
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 21 of 40




       As to the second category, the State seeks materials that probe other aspects

of WPATH’s work but have little or nothing to do with the Guidelines. For

example, the State seeks “all Communications and Documents” related to position

statements and other published materials regarding gender affirming care that

WPATH has released, signed on to, or endorsed. See Ex. A at RFP Nos. 16, 19,

31-32, & 47.

       C.    WPATH’s Motion to Quash

       On December 27, 2022, after WPATH and the State reached an impasse,

WPATH moved to quash the State’s subpoena on the grounds that the requested

discovery was irrelevant to the litigation, complying with the subpoena would

impose an undue burden on WPATH, and producing the requested material would

infringe on WPATH’s First Amendment rights by chilling members’ participation

in the organization and ultimately the effectiveness of the organization. See Doc.

208.

       On March 27, 2023, the District Court denied WPATH’s motion. Doc. 263

(the “Order”). The Court concluded that WPATH’s Guidelines were relevant to

plaintiffs’ case and that complying with the subpoena would not impose an undue

burden on WPATH. See id. at 8. The Court also stated that WPATH had failed to

make a prima facie showing that compliance with the subpoena would infringe its

First Amendment rights, because it had not “set forth a ‘reasonable probability’



                                          7
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 22 of 40




that disclosure will result in ‘threats, harassment, or reprisals from either

Government officials or private parties.’” Id. at 8 (citation omitted). The Court

observed that the subpoena did not seek to reveal the identities of WPATH

members or donors, see id. at 9, and the Court provided that WPATH could redact

personal identifying information in any responsive materials it produced, see id. at

10.

      On April 7, 2023, WPATH filed a motion requesting that the District Court

certify the Order for immediate appeal pursuant to 28 U.S.C. § 1292(b). Doc. 271.

On May 15, 2023, the District Court denied that motion. Doc. 281 (the “1292(b)

Order”). In the 1292(b) Order, the Court stated that its earlier conclusion that

WPATH had not made out a prima facie case of First Amendment infringement

did not present a “pure question of law” suitable for interlocutory appeal. Id. at 5-

7. In addition, the Court stated that an interlocutory appeal would not materially

advance the litigation because “[h]owever an appeals court might resolve the prima

facie issue, WPATH’s motion to quash would be denied once again on remand.”

Id. at 8. On this point, the Court stated that the State had “unquestionably

proffered a compelling governmental interest, and that interest is substantially

related to the requested documents,” and as such the State was “entitled to the

documents—even assuming WPATH made a prima facie showing of First

Amendment infringement.” Id. This petition followed.


                                           8
     Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 23 of 40




                     REASONS FOR GRANTING THE WRIT
        For a writ of mandamus to issue, the party seeking the writ must show that it

has no other adequate means to attain the relief it desires and its right to issuance

of the writ is clear and indisputable, and the issuing court, in the exercise of its

discretion, must be satisfied that the writ is appropriate under the circumstances.

See In re Sec’y, Fla. Dep’t of Corr., 2020 WL 1933170, at *1 (11th Cir. Mar. 30,

2020) (citing Cheney v. U.S. Dist. Court, 542 U.S. 367, 380–81 (2004)). As this

Court has recognized, mandamus “is often an appropriate method of review of

orders compelling discovery.” In re Fink, 876 F.2d 84, 84 (11th Cir. 1989). “If

there has been a clear abuse of discretion in allowing discovery, mandamus is an

appropriate remedy.” Id.; see also Dep’t of Corr., 2020 WL 1933170, at *1 (“A

district court’s discovery orders are reviewed for an abuse of discretion.”).

        The conditions for issuing the writ are satisfied here.

I.      WPATH Has No Other Adequate Means to Attain Relief.
        WPATH has no adequate means to attain relief other than mandamus. The

District Court’s denial of WPATH’s motion to quash is an interlocutory order, the

District Court denied WPATH’s motion to certify the Order for immediate appeal,

and this Court’s precedent forecloses resort to the collateral order doctrine. See

Drummond Co., Inc. v. Terrance P. Collingsworth, Conrad & Scherer, LLP, 816

F.3d 1319, 1326–27 (11th Cir. 2016) (concluding “we … never exercised



                                            9
    Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 24 of 40




jurisdiction under the collateral order doctrine to review any discovery order

involving any privilege”).

       Furthermore, waiting to appeal until there is a final judgment in the

underlying litigation is not a viable option under the circumstances. If this Court

does not grant the petition, WPATH will be compelled to disclose the privileged

material at issue, and the harm to WPATH will have been done well before final

judgment. This Court and others use the writ to protect privileged material from

disclosure in similar circumstances. See, e.g., Dep’t of Corr., 2020 WL 1933170,

at *1 (in dispute over production of “highly sensitive information,” recognizing

that “petitioner has no other adequate means of relief” because “[i]f we do not

grant the petition, the information at issue will be disclosed and the harm to prison

staff, prisoners, and the general public will have been done”); In re Itron, Inc., 883

F.3d 553, 567 (5th Cir. 2018) (issuing the writ where “an interlocutory appeal is

not available in attorney-client privilege cases” and “appeal after final judgment

will come too late because the privileged communications will already have been

disclosed”). In sum, petitioning for a writ of mandamus is WPATH’s only viable

appellate option. 4



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      WPATH could refuse to comply with the District Court’s order and then
appeal after being cited for contempt, but this Court’s precedent shows that the



                                         10
      Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 25 of 40




II.      WPATH’s Right to the Writ Is Clear and Indisputable Because the
         District Court Abused Its Discretion in Denying WPATH’s Motion to
         Quash.
         A party invoking the First Amendment privilege must make a prima facie

showing of “arguable First Amendment infringement”—in other words, that

compelled disclosure would result in a “chilling” of a protected right. Adolph

Coors Co. v. Movement Against Racism & the Klan, 777 F.2d 1538, 1542 (11th

Cir. 1985); Perry v. Schwarzenegger, 591 F.3d 1126, 1140 (9th Cir. 2009). Once

the burden is met, the requesting party must demonstrate “the [discovery] is

rationally related to a compelling governmental interest ... [and] the ‘least

restrictive means’ of obtaining the desired information.” Id. (citation omitted).

         In denying WPATH’s motion to quash, the District Court concluded that

WPATH had failed to make a prima facie showing of First Amendment

infringement. However, and as discussed below, the District Court adopted an

unduly narrow construction of the First Amendment privilege and therefore

applied an incorrect legal standard in requiring a showing that disclosure might

result in “threats, harassment, or reprisals.” Order at 8. The Court’s denial of




ability to pursue such a fraught course does not preclude resort to mandamus. See
also Drummond, 816 F.3d at 1326 (explaining that petitioning for a writ of
mandamus and appealing a citation for contempt are both “appellate options”).

                                          11
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 26 of 40




WPATH’s motion was thus an abuse of discretion, and this Court should issue the

writ to correct that error.

       A.     WPATH Established a Prima Facie Case That Enforcement of the
              State’s Subpoena Would Infringe Its First Amendment Rights.
       WPATH’s motion to quash explained how enforcement of the State’s

subpoena would impede WPATH’s freedom of association and speech and thus its

effectiveness, including by frustrating its ability to communicate within the

organization and generate work product that is useful to the public. For example, a

representative of WPATH described how “staff and members will communicate

less if the State’s subpoena is enforced,” and observed that WPATH staff is

“already more cautious about sending written communications for fear that they

will be produced and taken out-of-context in an attempt to misuse and harm the

persons [WPATH is] trying help.” Doc. 208-4 at 6. Relatedly, the WPATH

representative attested that many of the medical professionals whose volunteer

efforts are “essential to the accuracy of [WPATH’s] work” will “think twice before

volunteering their expertise if their confidential feedback could be shared with the

world.” Id. at 8–9.

       As WPATH explained, the risk of disclosing individual members’ identities

and exposing members to potential harassment and threats is certainly one concern

arising from the State’s subpoena. But an equally fundamental problem is that the

disclosure of the substance of WPATH’s internal deliberative process—especially


                                         12
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 27 of 40




to a State that has accused WPATH of “quashing dissent and prioritizing ideology

or financial interest over science” (Doc. 219 at 25)—will profoundly chill

participation in the organization, impede members’ willingness to voice unpopular

or critical views that could be disclosed and used against the organization by its

opponents, and damage the organization’s ability to do its work and operate

effectively. See, e.g., Apple Inc. v. Match Grp., Inc., 2021 WL 3727067, at *8

(N.D. Cal. Aug. 19, 2021) (refusing to enforce request for advocacy group’s

internal documents on First Amendment grounds and observing “[w]ho in their

right mind would want to participate in a public advocacy organization, knowing

that all their internal communications about strategy, lobbying, planning, and so

on, would be turned over to their principal opponent?”). Neither the redaction of

member names nor the production of information subject to a protective order

would mitigate these harms of Constitutional scope.

      Notwithstanding this evidence and argument, the District Court concluded

that WPATH had “failed to make a prima facie showing that compliance with [the

State’s] subpoena infringes its First Amendment rights.” Order at 8. Citing

Buckley v. Valeo, 424 U.S. 1, 74 (1976), the Court reasoned that WPATH was

required to “set forth a ‘reasonable probability’ that disclosure will result in

‘threats, harassment, or reprisals from either Government officials or private

parties.’” Order at 8. The Court concluded that WPATH had failed to carry that


                                          13
    Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 28 of 40




burden because the State was not seeking the names of any WPATH members, and

because any such information could be redacted or produced subject to a protective

order. See id. at 9-10.

       The District Court’s reasoning was in error. The Supreme Court has never

held that a party invoking the First Amendment must establish that “threats,

harassment, or reprisals” will result from disclosure of the requested material. 5 To

the contrary, multiple courts have recognized that the First Amendment protects

not only against disclosing member names, but also against disclosures revealing

an organization’s internal deliberations and communications. For example, the

D.C. Circuit has recognized that “public disclosure of an association’s confidential

internal materials . . . intrudes on the privacy of association and belief guaranteed

by the First Amendment, as well as seriously interferes with internal group

operations and effectiveness.” AFL-CIO v. FEC, 333 F.3d 168, 177-78 (D.C. Cir.

2003) (citing Buckley v. Valeo, 424 U.S. at 656).

       The Fifth Circuit has also recognized that compelled disclosure of an

organization’s internal policy deliberations raises serious First Amendment




5
       In Buckley v. Valeo, the Supreme Court was not addressing harms from
disclosure of an organization’s internal deliberations; rather, it was specifically
addressing arguments that compelled disclosure of the names of contributors to
political parties could harm the parties by exposing contributors to threats,
harassment, and reprisals. See Buckley v. Valeo, 424 U.S. at 69–74.

                                          14
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 29 of 40




concerns, regardless of whether members might be exposed to harassment as a

result of the disclosure. In Whole Woman’s Health v. Smith, 896 F.3d 362 (5th Cir.

2018), the Fifth Circuit reversed a district court’s order denying a motion to quash

and compelling production of the internal communications of the Texas

Conference of Catholic Bishops (“TCCB”). The Fifth Circuit concluded that the

district court “failed to afford sufficient scope to rights that should protect the inner

workings of TCCB when it engages in activity in the public square.” Id. at 372.

The court criticized the district court for “limit[ing] the associational rights to the

‘chilling’ of membership and tangible harassment,” and observed that First

Amendment associational rights also protected broader interests. Id. at 372.

      Similarly, the Ninth Circuit had held that a district court erred by concluding

that the First Amendment privilege is limited to the disclosure of the identify of an

organization’s members. In Perry v. Schwarzenegger, 591 F.3d 1126 (9th Cir.

2010), the Ninth Circuit explained that “[t]he first Amendment privilege . . . has

never been limited to the disclosure of the identities of rank-and-file members.”

Id. at 1141. The court explained that the scope of the privilege “turns not on the

type of information sought, but on whether the disclosure of the information will

have a deterrent effect on the exercise of protected activities.” Id. The court

specifically recognized that neither an agreement allowing redaction of members’

names nor a protective order limiting dissemination of the information would


                                           15
    Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 30 of 40




eliminate the threatened harms. See id. at 1153 (redaction); id. at 1165 (protective

order).

       Finally, recent developments in the Court of Appeals for the D.C. Circuit are

directly on point. In that matter, the District Court for the District of Columbia

denied a motion brought by WPATH and several other organizations to quash

third-party subpoenas issued by the State of Florida. It ordered WPATH to

produce to Florida the same types of materials at issue here, including materials

reflecting WPATH’s internal deliberative process. 6 For example, WPATH was

ordered to produce documents reflecting “the substantive materials and opinions

that were considered and relied upon, as well as the materials and opinions that

were considered and rejected,” in adopting the Guidelines, as well as “documents

that would be sufficient to show whether any dissenting views were otherwise

acknowledged, whether such views were considered in adopting guidelines or

policy positions, and why such views were rejected.” Doc. 255-2 at 1.

       While the D.C. district court acknowledged that the First Amendment

“protection also extends to internal communications that, if disclosed, may chill the

exercise of First Amendment rights,” and that WPATH had “a First Amendment




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      Florida issued identical third-party subpoenas to WPATH and several other
organizations. All were noticed for compliance in the District of Columbia, which
is why the dispute over those subpoenas occurred in that forum.

                                         16
    Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 31 of 40




interest in their internal communications,” it concluded that interest should yield to

Florida’s purported need for the information. See In re Subpoenas Served on Am.

Acad. of Pediatrics, 2023 WL 2351729, at *1, *3 (D.D.C. Mar. 3, 2023).

However, days later, the D.C. Circuit granted emergency relief and stayed that

discovery. See In re Subpoenas Served On Am. Acad. of Pediatrics, 2023 WL

2442223, at *1 (D.C. Cir. Mar. 8, 2023). Significantly, the D.C. Circuit granted

the stay even though Florida asserted and the district court adopted the exact same

argument that the District Court found dispositive here: that the ability to redact

member names and produce materials subject to a protective order “substantially

mitigate[s] [WPATH’s] fear of harassment and interference with First Amendment

rights.” In re Subpoenas, 2023 WL 2351729, at *3. 7

       In sum, the District Court erred in holding that a prima facie case of

infringement requires evidence that disclosure of the challenged materials will

result in “threats, harassment, or reprisals.” Order at 8. In its subsequent 1292(b)

Order, the District Court asserted that it made no such holding. See 1292(b) Order



7
       The District Court concluded that the D.C. Circuit proceedings were
inapposite because “the Florida-law litigation in no way turns upon WPATH’s
guidelines.” Order at 3 n.2. To the contrary, Florida strenuously sought
information from WPATH about its Guidelines and internal deliberative process,
arguing those materials went to the heart of its case. That dispute ultimately
necessitated an appeal and the emergency stay. See In re Subpoenas, 2023 WL
2351729, at *1 (reasoning information sought by Florida “goes to the heart of the
lawsuit”).

                                         17
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 32 of 40




at 6 (“The Court did not decide, as a matter of law, that First Amendment

infringement results only from threats, harassment, or reprisals.”). Rather, the

Court asserted that it “simply found that WPATH presented insufficient evidence

of threats, harassment, reprisals, or any other sort of chill.” Id. Respectfully,

WPATH suggests that the Court’s Order speaks for itself. The Court’s after-the-

fact characterization of the Order is not consistent with the Order’s plain text. This

Court should issue the writ to correct the District Court’s application of an

incorrect legal standard to WPATH’s profound prejudice.

      B.     The State Does Not Have a Compelling Need for the Requested
             Discovery Sufficient to Justify Infringement of WPATH’s First
             Amendment Rights.
      Having concluded that WPATH failed to establish a prima facie case of

infringement, the District Court did not conduct the second step of the First

Amendment privilege test and analyze whether the State had a sufficient need for

the requested information to justify infringement of WPATH’s constitutional

rights. See Perry, 591 F.3d at 1140. While the District Court said the requested

information was “relevant,” see Order at 5-6, that is not the correct inquiry. “The

second step of the analysis is meant to make discovery that impacts First

Amendment associational rights available only after careful consideration of the

need for discovery….” Perry, 591 F.3d at 1140. That analysis requires courts to

engage in a balancing of interests that imposes on the party seeking discovery “a



                                          18
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 33 of 40




more demanding standard of relevance than that under Federal Rule of Civil

Procedure 26(b)(1).” Perry, 591 F.3d at 1141 (emphasis added); see also id. at

1144 (“The Rule 26 standard, however, fails to give sufficient weight to the First

Amendment interests at stake.”). “The request must also be carefully tailored to

avoid unnecessary interference with protected activities, and the information must

be otherwise unavailable.” Id. at 1141.

      In its 1292(b) Order, the District Court stated that even if this Court

determines WPATH had made out a prima facie case of First Amendment

infringement, it would still deny the motion to quash on remand because

“Defendants have unquestionably proffered a compelling governmental interest,

and that interest is substantially related to the requested documents.” 1292(b)

Order at 8. The Court did not elaborate on this reasoning, but it does not appear to

have considered whether the requested discovery satisfies the heightened relevance

standard required by the First Amendment. It does not.

      There is no dispute that the WPATH Guidelines are relevant to the

underlying case, and that the State intends to challenge their scientific validity.

However, the State has various means of attacking the Guidelines that would not

require infringement of WPATH’s Constitutional rights. For example, the

Guidelines cite every study and piece of evidence on which they rely, and the State

could attack the validity of those studies. Alternatively, it could put up its own


                                          19
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 34 of 40




contrary scientific evidence. Instead of litigating the merits of the Guidelines,

however, the State is attempting to litigate the internal process and supposedly self-

interested motives of WPATH. As the State told the District Court, this discovery

seeks evidence that WPATH is motivated not by science but rather “ideology, self-

interest, organizational politicking, or other considerations[.]” Doc. 219 at 3. In

other words, the State wants to put WPATH on trial. Discovery in service of that

sideshow is not relevant—much less “highly relevant,” as it must be to justify

infringing WPATH’s First Amendment rights. Perry, 591 F.3d at 1141.

III.   Mandamus Is Appropriate Under the Circumstances.
       In deciding whether the writ is appropriate to correct discovery orders that

would compromise a claim of privilege, this Court considers “the importance of

the privilege, the seriousness of the injury if discovery is obtained, and the

difficulty of obtaining effective review once the privileged information has been

made public.” In re Fink, 876 F.2d at 84. All three factors indicate that the writ is

appropriate under the circumstances.

       First, this case does not involve a routine discovery dispute. Rather, it

concerns “a privilege of constitutional dimensions,” and raises an important

question about the scope of the First Amendment privilege against compelled

disclosure of an organization’s internal deliberations. Perry, 591 F.3d at 1135

(recognizing mandamus is appropriate “to review discovery orders raising



                                          20
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 35 of 40




particularly important questions of first impression, especially when called upon to

define the scope of an important privilege”). The District Court applied an unduly

narrow construction of the First Amendment, and failure to correct that error will

potentially chill participation and debate in matters involving issues ranging far

beyond those presented in the immediate lawsuit. Constitutional privileges of the

type at issue here are inherently “important” ones, rendering mandamus

appropriate under the circumstances. See Cate v. Oldham, 707 F.2d 1176, 1190

(11th Cir. 1983) (noting that the public has a “strong … interest in protecting First

Amendment values”).

      Second, both WPATH and the public interest will be seriously injured if the

State obtains the requested material. As discussed above (pp. 12-15), disclosure of

WPATH’s internal deliberations to the State will imperil WPATH’s effectiveness,

necessarily injuring the organization. In addition, this discovery is already chilling

WPATH’s educational and scientific efforts, which ultimately benefit the public at

large. As a WPATH representative explained, the organization works with dozens

of volunteer medical experts every year to “understand the latest science, and to

review and edit our publications, educational materials, curriculum, and public

statements.” Doc. 208-4 at 8. These experts would “think twice before

volunteering their expertise if their confidential feedback could be shared with the

world,” which would also undermine “confidence that peer reviews and


                                          21
   Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 36 of 40




communications within WPATH will not be publicly disclosed.” Id. at 9. As a

result, enforcing the subpoenas would “greatly hinder the quality and accuracy of

[WPATH’s] work product, which in turn will worsen the care that our members

provide to their patients across all health domains.” Id. This is a quintessential

injury to the public interest.

      In similar contexts, courts have recognized the public interest in protecting

third-party experts from compelled discovery. “Compelling testimony from a third

party researcher risks chilling participation in beneficial public research.” In re

Fosamax Prods. Liab. Litig., 2009 WL 2395899, at *4 (S.D.N.Y. Aug. 4, 2009).

Permitting such discovery “‘inevitably tend[s] to check the ardor and fearlessness

of scholars, qualities at once so fragile and so indispensable for fruitful academic

labor.’” Id. (quoting Sweezy v. New Hampshire, 354 U.S. 234, 262 (1957)

(Frankfurter, J., concurring)).

      Finally, and as discussed above (at p. 10), there are no realistic options for

“effective review” of the District Court’s Order “once the privileged information

has been made public.” In re Fink, 876 F.2d at 84. As the Fifth Circuit

recognized, “forced discovery” targeting a non-party is “effectively unreviewable

on appeal from the final judgment.” Whole Woman’s Health v. Smith, 896 F.3d

362, 367 (5th Cir. 2018) (internal quotations omitted). “[A] new trial can hardly

avail a third-party witness who cannot benefit directly from such relief.” Id. at


                                          22
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 37 of 40




367–68. Moreover, if plaintiffs ultimately prevail in the District Court, there

would likely be no appeal at all of the District Court’s construction of the First

Amendment privilege, leaving unaddressed an important issue that is likely to

recur in future cases. See Perry, 591 F.3d at 1138; see also In re Burlington

Northern, Inc., 822 F.2d 518, 523 (5th Cir. 1997).

                                  CONCLUSION
      For the foregoing reasons, the Court should issue a writ of mandamus

reversing the District Court’s Order and instructing it to grant WPATH’s motion to

quash.




                                          23
 Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 38 of 40




Dated: May 26, 2023                      Respectfully submitted,

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                                    24
  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 39 of 40




                       CERTIFICATE OF COMPLIANCE

      1.      I certify that this brief complies with the type-volume limitations set

forth in Fed. R. App. P. 32(a)(7)(B)(i). This brief contains 5117 words, including

all headings, footnotes, and quotations, and excluding the parts of the response

exempted under Fed. R. App. P. 32(f).

      2.      In addition, this response complies with the typeface and type style

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proportionally spaced typeface using Microsoft Word in 14-point Times New

Roman font.



                                              /s Cortlin H. Lannin
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  Case 2:22-cv-00184-LCB-CWB Document 289-1 Filed 05/26/23 Page 40 of 40




                         CERTIFICATE OF SERVICE

      I hereby certify that on May 26, 2023, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to counsel of record.


                                             /s Cortlin H. Lannin
                                             Cortlin H. Lannin
